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UNITED STATES DISTRICT C()URT
DISTRICT OF CONNECTICUT

 

LlNDSAY HELD, on behalf of himself and
all others similarly situated,

Plaintiff,
Case No. 3114~cv-01842-WIG
(consolidated with Case No.
3115-cv-OO3 56-WIG)
PERFORMANCE LACROSSE GROUP INC.,

Defendant.

 

MATTHEW HEMBERGER, on behalf of himself
and all others similarly situated,

Piaintiff,
V.
PERFoRMANcE LAcRossE GRoUP lNc.,

Defendant.

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ORDER AND JUDGMENT GRANTING FINAL APPROVAL
OF CLASS ACTION SETTLEMENT AND CERTIFYING
SETTLEMENT CLASS
WHEREAS, Plaintiffs and Class Representatives Lindsay Held and Matthew

Hemberger, on behalf of themselves and the plaintiff class, have moved this Court for an Order
granting final approval of the paities’ settlement of this class action on the terms and conditions
set forth in the Class Action Settlement Agreement (“Settlement Agreement”) duly entered into
by the Parties and their counsel on April 21, 2016;

WHEREAS, Defendant Performance Lacrosse Group Inc. (“PLG”) has not opposed the

request for relief set forth therein;

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WHEREAS, upon the Motion, the supporting Memorandum of Law, exhibits, and all
pleadings and submissions previously filed in this action, the Court finds that final approval of
the settlement is warranted;

IT IS HEREBY ORDERED THAT:

l. The terms of the Settlement Agreement are approved The Settlement is in all
respects fair, reasonable, adequate and proper, and in the best interest of the Settlement Class. ln
reaching this conclusion, the Court has considered factors that include: (l) the complexity,
expense and likely duration of the litigation; (2) the reaction of the class to the settlement; (3) the
stage of the proceedings and the amount of discovery completed; (4) the risks of establishing
liability; (5) the risks of establishing damages; (6) the risks of maintaining the class action
through the trial; (7) the ability of defendants to withstand a greater judgment; (8) the range of
reasonableness of the settlement in light of the best possible recovery; and (9) the range of
reasonableness of the settlement to a possible recovery in light of all the attendant risks of
litigation

2. The Settlement Agreement was entered into by experienced counsel after
extensive, arm's length negotiations The Settlement is not the result of collusion. The Settlement
was entered into in good faith Class Counsel and the Plaintiffs have fairly and adequately
represented the Settlement Class for purposes of enteiing into and implementing the Settlement

3. The Court finds that there is no just reason for delay in entering the Final Order
and Judgment Approving Settlement pursuant to Fed. R. Civ. P. 54(b), because (l) delay would
not be in the best interests of the Settlement Class niembers, who will be able to receive Awards
shortly after entry of the Final Order and Judgment Approving Settlement; and (2) judicial

economy and administration would be served by the efficient resolution of the claims of

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Settlement Class members by means of the Settlement

4.

The Court conditionally certified the following Settlement Class in the

Preliminary Approval Order:

5.

Class: All persons throughout the United States who purchased a
new Cascade R lacrosse helmet between July l, 2013 and
November 20, 2014, and who did not resell it.

Retrofit Sub~Class: All persons throughout the United States who
purchased a new Cascade R lacrosse helmet between July l, 2013
and November 20, 2014, who did not resell it, and who have
registered with PLG and had the retrofit performed by PLG
pursuant to the R-M Retrofit Program as of the date of Final
Approval of the settlement

Non-Retrofit Sub-Class: All persons throughout the United States
who purchased a new Cascade R lacrosse helmet between July l,
2013 and November 20, 2014, who did not resell it, and who have
not had the retrofit performed by PLG pursuant to the R-M Retrofit
Program as of the date of Final Approval of the settlement

Excluded from the class are: (1) all purchasers of a Cascade R
helmet who resold the helmet; (2) all owners of Cascade R helmets
purchased or obtained as used; (3) owners of Cascade R helmets
obtained as free; (4) the Court and court employees; (5) all
individuals or entities claiming to be subrogated to the rights of
class members; (6) retailers or re-sellers of Cascade R helmets; (7)
employees of PLG and their immediate families; and (8) any
individuals with claims for personal injuries allegedly relating to
the Cascade R helmets.

The Court finds that, for purposes of settlement of the Action only, the Settlement

Class satisfies the requirements of Fed. R. Civ. P. 23(a), as follows:

a. In accordance with Fed. R. Civ. P. 23(a)(l), the Settlement Class members are
so numerous that joinder of all such persons is impracticable

b. ln accordance with Fed. R. Civ. P. 23(a)(2), there are questions of law and/or
fact common to the Settlement Class members

c. ln accordance with Fed. R. Civ. P. 23(a)(3), the claims of the Class

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Representatives are typical of the claims of the Settlement Class.

d. ln accordance with Fed. R. Civ. P. 23(a)(4), the Class Representatives will
fairly and adequately represent the interests of the Settlement Class, and do
not have interests that are antagonistic to the Settlement Class.

6. The Court further finds that, for purposes of settlement of the Action only, the
Settlement Class satisfies the requirements of Fed. R. Civ. P. 23(b)(3), in that (1) questions of
fact and/or law common to Settlement Class members predominate over any questions affecting
only individual Settlement Class members, and (2) a class action is superior to other available
methods for fairly and efficiently adjudicating the dispute The Parties' ability to resolve the
Action on terms applicable to all Settlement Class members establishes the predominance of
common legal and factual questions for purposes of the Settlement Moreover, a class action is
the superior means of resolving the dispute because individual Settlement Class members have
demonstrated no interest in prosecuting separate actions, and the cost of litigation far outpaces
any individual recovery available to any Settlement Class member.

7. The Court therefore ceitifies, for settlement purposes only, the Settlement Class
as defined in Paragraph 4 of this Order.

8. The Court finds that the notice issued in conjunction with this settlement (1)
satisfied the requirements of Fed. R. Civ. P. 23(0)(3) and due process; (2) was the best
practicable notice under the circumstances; (3) reasonably apprised Settlement Class members of
the pendency of the Action and their right to object to the settlement or opt-out of the Settlement
Class; and (4) was reasonable and constituted due, adequate and sufficient notice to all persons
entitled to receive notice.

9. The Court further finds, pursuant to Fed. R. Civ. P. 23(c)(2), that the notice issued

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adequately informed Settlement Class members of their rights with respect to the Action.

10. The Court hereby enters a judgment of dismissal of the Amended Complaint in
the Action with prejudice and without costs (except as specified herein), pursuant to Fed. R. Civ.
P. 54(b).

ll. The Court hereby grants Class Counsel's application for an award of attorneys'
fees in the amount of Three Hundred Fifty Thousand Dollars ($350,000.00), to be paid by
Defendant in accordance with the terms of the Settlement Agreement.

12, The Court further grants Class Counsel's application for lncentive Awards, in the
amount of Gne Thousand Five Hundred Dollars ($1,500.00) to be paid to each of Lindsay Held
and Matthew Hemberger in accordance with terms of the Settlement Agreement.

13. Class Counsel, in their sole discretion, shall allocate and distribute the award of
attomeys' fees and expenses among counsel for the Plaintiffs.

14. The Court finds that, pursuant to the terms of the Settlement Agreement, each
Releasing Party shall be deemed to have released and forever discharged each Released Party of
and from liability for any and all Released Claims as defined in the Settlement Agreement.

15 . The Court further finds that, the Plaintiffs on their own behalf and on behalf of all
Settlement Class members who do not opt out of the proposed Settlement Class release and
forever discharge PLG from any and all claims7 demands, causes of action of every kind and
nature, obligations, damages, losses and costs, whether known or unknown, actual or potential,
suspect or unsuspected, contingent or fixed, that were or could have been asserted or sought in
this Action, relating in any way to the Cascade R helmet, including, but not limited to, claims for
breach of express or implied wan'anty, violation of state consumer protection or deceptive trade

practices statutes, fraud, or any other theory sounding in tort or contract. This release does not

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apply to any claims for personal injuries against PLG allegedly relating to the Cascade R
helmets.

16. Without in any way affecting the finality of this Order and Judgment, the Court
hereby retains jurisdiction over the Parties to the Settlement, including all Settlement Class
inembers, to construe and enforce the Settlement Agreement in accordance with its terms for the

mutual benefit of the Parties.

IT IS SO ORDERED.

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Hon. William l. Garfirrl<el

 

